
PER CURIAM.
Charles Carter, III, appeals the summary denial of his motion to correct illegal sentence filed pursuant to Florida Rule of Criminal Procedure 3.800(a), alleging that he is entitled to be resentenced under the supreme court’s decision in Heggs v. State, 759 So.2d 620 (Fla.2000). We affirm without prejudice to any right Carter might have to file a rule 3.850 motion challenging the voluntary and intelligent nature of his plea pursuant to Murphy v. State, 773 So.2d 1174 (Fla. 2d DCA 2000).
Affirmed.
THREADGILL, A.C.J., and PARKER and CASANUEVA, JJ., Concur.
